
The following order has been entered on the motion filed on the 20th of August 2018 by State of NC to Dismiss Appeal:
"Motion Allowed by order of the Court in conference, this the 5th of December 2018."
Upon consideration of the conditional petition filed on the 20th of August 2018 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 5th of December 2018."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
